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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   BEAUFORT DIVISION

LUTHER TUCK ANDERSON,
                                                                        Case No.: 9:18-cv-1250-BHH
                               Plaintiffs,

       vs.

WRIGHT NATIONAL FLOOD INSURANCE                                        COMPLAINT
COMPANY,

                               Defendants.



                           COMPLAINT: JURY TRIAL DEMANDED

       The Plaintiffs would respectfully show this court as follows:

  1.    The Plaintiff, Luther Anderson, is the owner of a beachfront home located at 106 Harbor
        Drive North, St. Helena Island, South Carolina 29920 which is situated in Beaufort County
        and was the owner of such property at all relevant times herein.
  2.    The Defendant,                                                                          ),
        is an insurance company licensed to insure risks and transact business in Beaufort County,
        South Carolina.
  3.    WNF Ins. Co. issued a flood insurance policy (policy number 39 1150312725) to Plaintiff
        for his residence located at 106 Harbor Drive North, St. Helena Island, South Carolina
        29920 which policy was renewed annually and was in effect during all relevant times.
  4.    The flood policy issued to Plaintiff by Defendant is subject to federal guidelines and
        provisions set forth in the National Flood Insurance Program                   ).
  5.
        home was severely damaged due to flooding and erosion caused by Hurricane Matthew on
        October 8, 2016.
  6.    Plaintiff filed a timely claim with WNF Ins. Co. on February 2, 2017 for proceeds of the
        insurance policy he purchased which covered the damage caused by Hurricane Matthew.
  7.                                                                                           the
        policy; Furthermore, WNF Ins. Co. has failed to properly investigate or respond to the
        claim filed by Plaintiff.
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8.    The parties hereto and the subject-matter hereof, are within the jurisdiction of this
      Honorable Court.
                                      FACTUAL ALLEGATIONS
9.                flood insurance contract with WNF Ins. Co. included coverage for direct
      physical loss caused by flooding               home and the contents within.
10. P             flood policy issued by WNF Ins. Co. provided coverage of up to $250,000 in
      replacement cost or actual cash value of the building and coverage of up to $100,000 for
      the contents of the building.
11. Coverage under the policy included protections for damages caused by storm surge, wave
      impact and other damages typically associated with hurricanes.
12. Plaintiff paid WNF Ins. Co. all the required monthly premiums as well as additional
      renewal fees for the flood insurance policy.
13. Prior to October 8, 2016, Plaintiff had properly maintained their beachfront home and
      complied with all the terms of their insurance policy contract.
14. On October 8, 2016,                    home was directly damaged by flooding caused by
      Hurricane Matthew.
15. As a result of the Category 2 hurricane, flooding and the resulting storm surge caused
      extensive damage to the structu                               home.
16. As a result of the flood damage caused by Hurricane Matthew                    home sustained
      extensive damage to the structural components and other features of the building and
      permanent loss or damage to the contents located within the home.
17. In addition to structural damage to the home, the extensive storm surge and flooding during
      Hurricane Matthew resulted in the erosion on the ocean
      property.
18. The total cost to repair the damage to the home and replacement or repair of the contents
      exceed the $350,000 policy limits                                 coverage with WNF Ins. Co.
19. The total cost to replace the building and beach erosion control features damaged by the
      storm pair the damage to the home exceed the $250,000 policy limits available through
                  coverage with WNF Ins. Co.
20. The Plaintiff filed a claim with WNF Ins. Co. on February 2, 2017 for payment of the
      policy benefits provided in their contract.


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21.                                                                                             onably


22. WNF Ins. Co. further
                                                   s inquiries regarding his claim in a clear or timely
      manner.
23. Since the time Plaintiff home was damaged by Hurricane Matthew, he has been unable to
      use the home and access to the home has been restricted by local government authorities
      due to safety concerns with the structural integrity of the home and surrounding property.


                                 FOR A FIRST CAUSE OF ACTION
                                   (BREACH OF CONTRACT)

24. A valid contract exists between the parties based on valuable consideration (payment for
      the policy premiums) paid by the Plaintiff for a benefit to be provided by the Defendant.
25. Defendant owed a duty under the express terms of the contract to pay the policy benefits
      for certain types of damage which occurred as a result of Hurricane Matthew on October 8,
      2016.
26.                                                                             ted to damage caused
      by flooding and storm surge commonly associated with a category two hurricane were


      Defendant.
27. Defendan                                    claim pursuant to the terms of the insurance policy
      thereby constituting a breach of contract.
28. As a result of WN                                          entitled to recover actual (direct and
      consequential) damages in an amount to be determined at trial, as well as pre-judgment
      interest.


                           FOR A SECOND CAUSE OF ACTION
                                   (NEGLIGENCE)

29. All allegations contained in paragraphs one (1) through twenty-eight (28) are realleged and
      hereby incorporated as if fully set forth herein.




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30. The insurance policy sold to Plaintiff by WNF Ins. Co. included coverage for direct
    physical loss c                                      real and personal property (building and
    contents).
31. Plaintiffs has suffered a direct physical loss caused by flooding to his real and personal
    property (building and contents) as a result of Hurricane Matthew on October 8, 2016.
32. Plaintiff has provided the necessary documentation and a valid assessment of the damage to
    his real property and loss of personal property including a Proof of Loss as well as a
    detailed explanation of how the flooding, storm surge and wave impact caused this
    damage.
33. An independent                                                  Co. by Plaintiff includes an
    assessment of the costs of repairing the damage which would make Plaintiff whole; the
    costs of which exceed the available policy limits.
34. Despite receiving this information from Plaintiff as well as all other necessary information
    required in the claims process, WNF Ins. Co. has refused to pay                   benefits or
    further process their claim.
35. WNF Ins. Co. has acted willfully and with conscious disregard of the rights of the Plaintiff
    in one or more of the following ways:
    a. In failing and refusing to pay benefits                               claim with regard to
        the damages to his home located at 106 Harbor Drive North;
    b. In failing to exercise that degree of care which a reasonably prudent insurance company
        would have exercised in the same or similar circumstances; and
    c. In such other acts and omissions which may be learned through discovery.
36. As a direct, forseeable and proximate result of WN                                   entitled
    to actual (direct and consequential) damages, as well as punitive damages against
    Defendant in an amount to be determined at trial.


                               FOR A THIRD CAUSE OF ACTION
                                 (PROMISSORY ESTOPPEL)

37. All of the allegations contained in paragraphs one (1) through thirty-six (36) are
    incorporated as if fully set forth herein.




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   38. WNF Ins. Co. conveyed to Plaintiff and led Plaintiff to believe that the damages caused to
        his home would be covered and that he would be reimbursed promptly by WNF Ins. Co.
        upon submitting a valid claim.
   39. Plaintiff did in fact reasonably rely
        that a claim for covered damages would be paid as long as Plaintiff maintained the
        premiums and complied with the terms of their contract for the flood insurance policy.
   40. Plaintiff has paid out-of-pocket the policy premiums as well as other expenses which are
        consequential to and a proximate and direct result of their reasonable reliance on WNF Ins.


   41. WNF Ins. Co. is e                                       claim and is liable to Plaintiff in an
        amount to be determined at trial.


     WHEREFORE, having fully set forth their complaint, Plaintiff prays for judgment against the
Defendant for such actual (direct and consequential) damages and punitive damages as a jury may
assess, for the costs and disbursements of this action and for such other relief as the court may deem
just and proper.

           Respectfully submitted,
                                               /s/Alexander R. Stalvey
                                               SC Bar No. 71739 Fed. ID No. 10636
                                               401 Pettigru Street (29601)
                                               P. O. Box 10007 (29603)
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                                               Attorney for Plaintiff, Luther Tuck Anderson
May 7, 2018
Greenville, SC




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